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               EXHIBIT F
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 MIDAS GREEN TECHNOLOGIES,                        §
 LLC,                                             §
                                                  §
        Plaintiff/Counter-Defendant,              §
                                                  §
 v.                                               §       Civil Action No. 4:20-cv-00555-O
                                                  §
 IMMERSION SYSTEMS, LLC,                          §
                                                  §
        Defendant/Counter-Claimant.               §

                                             ORDER

       Before the Court are Defendant Immersion Systems LLC’s Opening Claim Construction

Brief (ECF No. 74), filed September 24, 2021; Plaintiff Midas Green Technologies, LLC’s

Opening Claim Construction Brief (ECF No. 76), filed September 24; Immersion’s Response

(ECF No. 78), filed October 8; Midas’s Response (ECF No. 80), filed October 8; and the Joint

Claim Construction Chart (ECF No. 82), filed October 15.

       Midas filed this lawsuit against Immersion, alleging infringement of two patents.

Immersion denies that it has infringed any patents and argues that Midas’s patents are invalid and

unenforceable. Before reaching those issues, the parties ask the Court to resolve a dispute over the

construction of two terms in the patent claims. The Court will also take this opportunity to adopt

the agreed-upon constructions of the nineteen terms listed in the Joint Claim Construction Chart.

       I.      BACKGROUND

       Midas is the assignee of two patents that concern the liquid cooling of electronic

appliances. The first patent is registered as U.S. Patent No. 10,405,457 (“the ’457 Patent”). Def.’s

App. 6, ECF No. 75. The second patent is a continuation of the ’457 Patent and is registered as

U.S. Patent No. 10,820,446 (“the ’446 Patent”). Id. at 22.
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        The patents describe a tank in which electronic appliances are immersed in a cooling fluid.

Id. at 16, 32. A device on the bottom of the tank dispenses the fluid, which travels upward to the

top of the tank. Id. When the fluid approaches the top, it reaches a horizontal slot called a “weir.”

Id. The fluid flows through the weir into a reservoir so that it can be repressurized, cooled, and

recirculated through the system. Id. The technology has applications in data centers and

cryptocurrency farming operations. See Pl.’s Br. 5, ECF No. 76.

        On May 29, 2020, Midas sued Immersion for infringement of its patents. It asserts

infringement of Claims 1, 6, and 11 of the ’457 Patent, and Claims 1 and 6 of the ’446 Patent.

Compl. 7–8, ECF No. 1. Immersion responded by denying that it infringed any patents and

asserting that the patents are invalid and unenforceable under 35 U.S.C. §§ 102, 103, and 112.

Answer 11–13, ECF No. 17.

        Following the Court’s Scheduling Order, the parties submitted briefs regarding the

construction of terms and phrases in both patents. They agree on the construction of nineteen terms

and phrases. See Joint Claim Construction Chart 1–4, ECF No. 82-1. They dispute, however, the

proper construction of two phrases:

        1) “a weir . . . adapted to facilitate substantially uniform recovery,”1 and

        2) “a weir . . . having an overflow lip adapted to facilitate substantially uniform
           recovery.”2

The parties agree that a “weir” is “an overflow structure or barrier that determines the level of

liquid.” Id. at 1. They also agree that “substantially uniform recovery” should be given its plain

and ordinary meaning. Id.




1
  The first phrase appears in Claim 11 of the ’457 Patent and Claims 1 and 6 of the ’446 Patent. See Def.’s
App. 15–16, 31, ECF No. 75.
2
  The second phrase appears in Claims 1 and 6 of the ’457 Patent. See id. at 15.


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        The dispute comes down to the meaning of “an overflow lip.” The ’457 Patent describes

“a weir . . . having an overflow lip adapted to facilitate substantially uniform recovery” of the fluid.

Def.’s App. 19, ECF No. 75 (emphasis added). The ’446 Patent, which followed the ’457 Patent,

omits the phrase “having an overflow lip,” and instead describes “a weir . . . adapted to facilitate

substantially uniform recovery” of the fluid. Id. at 35. The issue is whether there is a difference

between a “weir” and a “weir having an overflow lip.”

        Immersion contends there must be a difference between the two phrases. It begins with the

premise that different terms are presumed to have different meanings. See Def.’s Br. 15, ECF No.

74. So, Immersion argues, there must be a difference between the claims that include the phrase

“having an overflow lip” and those that do not. And because the patents do not define what that

difference is, Immersion argues the patents are indefinite under 35 U.S.C. § 112(b) and, thus,

invalid.

        Midas rejects Immersion’s premise that the two phrases have different meanings.

According to Midas, the inclusion of the phrase “having an overflow lip” is a redundancy; a “weir”

and “a weir having an overflow lip” are the same thing. See Pl.’s Resp. Br. 7, ECF No. 80. Midas

therefore argues that the two phrases need no construction because their meanings are plain. See

Pl.’s Br. 1, ECF No. 76. In the alternative, Midas suggests that the meaning of the two phrases can

be simplified by construing “adapted to facilitate” to mean “capable of easing or helping.” Id.

        II.     LEGAL STANDARDS

        In a patent infringement case, a court first determines the proper construction of the patent

claims as a matter of law, establishing the scope of the patentee’s rights. Teva Pharms. USA, Inc.

v. Sandoz, Inc., 574 U.S. 318, 321 (2015). The trier of fact may then be called upon to compare

the properly construed claims to the allegedly infringing devices to determine whether there has

been an infringement. Id.


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        Claim construction is the process of identifying the proper meaning of the claim language.

“[T]he words of a claim ‘are generally given their ordinary and customary meaning.’” Phillips v.

AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc) (citation omitted). That is, a claim

term is given “the meaning that the term would have to a person of ordinary skill in the art in

question at the time of the invention.” Id. at 1313. “There are only two exceptions to this general

rule: 1) when a patentee sets out a definition and acts as his own lexicographer, or 2) when the

patentee disavows the full scope of the claim term either in the specification or during

prosecution.” Hill-Rom Servs., Inc. v. Stryker Corp., 755 F.3d 1367, 1371 (Fed. Cir. 2014) (internal

quotation marks and citation omitted).

        Courts begin the plain-meaning analysis by looking at the patent’s intrinsic record, which

consists of the claims, specification, and prosecution history. Vitronics Corp. v. Conceptronic, Inc.,

90 F.3d 1576, 1582 (Fed. Cir. 1996). The words of the claims are generally given their ordinary

meaning, but “it is always necessary to review the specification to determine whether the inventor

has used any terms in a manner inconsistent with their ordinary meaning.” Id. “[T]he specification

is always highly relevant to the claim construction analysis. Usually, it is dispositive; it is the single

best guide to the meaning of a disputed term.” Id. A court may also consider the patent’s

prosecution history, if in evidence. Id.

        Usually, the intrinsic evidence resolves any ambiguity in a term’s meaning. When it does

not, courts look to extrinsic evidence. Vitronics, 90 F.3d at 1583. Extrinsic evidence “consists of

all evidence external to the patent and prosecution history, including expert and inventor

testimony, dictionaries, and learned treatises.” Phillips, 415 F.3d at 1317 (internal quotation marks

and citation omitted). Though these sources may be useful, “a court should discount any expert




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testimony ‘that is clearly at odds with the claim construction mandated by the claims themselves,

the written description, and the prosecution history.’” Id. at 1318 (citation omitted).

        Sometimes, neither intrinsic nor extrinsic evidence can resolve a term’s ambiguity. In those

circumstances, the claim may be indefinite and thus invalid. See 35 U.S.C. § 112. “[A] patent is

invalid for indefiniteness if its claims, read in light of the specification delineating the patent, and

the prosecution history, fail to inform, with reasonable certainty, those skilled in the art about the

scope of the invention.” Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 901 (2014).

Although the definiteness requirement mandates clarity, courts recognize that “absolute precision

is unattainable.” Id. at 910. The level of certainty regarding a patent’s definiteness “is not greater

than is reasonable,” considering the patent’s subject matter. Id. “[T]he party challenging the patent

bears the burden of proving invalidity by clear and convincing evidence.” Takeda Pharm. Co. v.

Zydus Pharms. USA, Inc., 743 F.3d 1359, 1366 (Fed. Cir. 2014) (citing Microsoft Corp. v. i4i Ltd.

P’ship, 564 U.S. 91, 95 (2011)).

        III.    ANALYSIS

        The lynchpin of Immersion’s argument is the doctrine of claim differentiation. The doctrine

holds that “different words or phrases used in separate claims are presumed to indicate that the

claims have different meanings and scope.” Seachange Int’l, Inc. v. C-COR, Inc., 413 F.3d 1361,

1368 (Fed. Cir. 2005) (citation and internal quotation marks omitted). Claim differentiation,

however, “is not a hard and fast rule of construction.” Id. at 1369 (citation and internal quotation

marks omitted). “The doctrine of claim differentiation can not broaden claims beyond their correct

scope, determined in light of the specification and the prosecution history and any relevant

extrinsic evidence. Claims that are written in different words may ultimately cover substantially

the same subject matter.” Id. (cleaned up).




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       The Court does not construe the claim language in isolation. “Claim language must always

be read in view of the written description, and any presumption created by the doctrine of claim

differentiation ‘will be overcome by a contrary construction dictated by the written description or

prosecution history.’” Retractable Techs., Inc. v. Becton, Dickinson & Co., 653 F.3d 1296, 1305

(Fed. Cir. 2011) (citation omitted) (quoting Seachange Int’l, 413 F.3d at 1369). Finally, the

presumption is “not as strong across related patents.” Clare v. Chrysler Grp. LLC, 819 F.3d 1323,

1330 (Fed. Cir. 2016).

       Immersion relies too heavily on the presumption of claim differentiation. The intrinsic

evidence overcomes the presumption that a “weir” and a “a weir having an overflow lip” mean

different things. Moreover, because the intrinsic evidence resolves the dispute over the meaning

of the two phrases, the Court need not consult extrinsic evidence. See Vitronics, 90 F.3d at 1583.

In sum, Immersion has not provided clear and convincing evidence that the patents fail to inform

“those skilled in the art about the scope of the invention.” Nautilus, 572 U.S. at 901; see also

Takeda Pharm., 743 F.3d at 1366.

               A.        The Claims

       The parties’ stipulated claim terms resolve any ambiguity in the disputed terms. As already

noted, the parties agree that a “weir” is “an overflow structure or barrier that determines the level

of liquid.” Joint Claim Construction Chart 1, ECF No. 82-1. They also agree that “substantially

uniform recovery” should be afforded its plain and ordinary meaning. Id. A person of ordinary

skill in the art would understand that a weir, as “an overflow structure or barrier,” determines the

level of a liquid by having an edge over which the liquid flows. The parties’ agreements therefore

provide reasonable certainty as to the scope of the claim. See Phillips, 415 F.3d at 1312.

       The question is whether adding the phrase “having an overflow lip” injects ambiguity into

the claims. It does not. As Midas points out, the overflow lip is simply the bottom edge of the weir.


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See Pl.’s Resp. Br. 8–9, ECF No. 80. The Court agrees that specifying that a weir has an overflow

lip is redundant. And redundancies do not necessarily render a claim indefinite. For example, one

court rejected an argument that the phrase “inner shell” used in one patent and the phrase “inner

shell that is a rigid shell” used in a related patent must have different meanings. Kranos IP Corp.

v. Riddell, Inc., No. 17-C-6802, 2019 WL 1915366, at *2 (N.D. Ill. Apr. 24, 2019) (cleaned up).

The Court reasoned that “the fact that a related patent contained different claim language has little

probative value in light of the clear indications in the [other] patent that the inner shell must be

rigid or hard.” Id. Likewise, that the later ’446 Patent omitted the phrase “having an overflow lip”

is simply confirmation that the applicants recognized the redundancy. See Shire LLC v. Abhai,

LLC, 219 F. Supp. 3d 241, 245 (D. Mass. 2016) (“Differently worded but similar claims in related

patents, however, may still be construed identically where those patents share a specification and

other technical details.”).

                B.      The Specification

        The specification reinforces the plain meaning of the disputed terms. The ’457 Patent

describes how the fluid flows into the reservoir: “One further shared component is the dielectric

fluid recovery facility comprising a dielectric fluid recovery reservoir positioned vertically beneath

the overflow lip of the weir and adapted smoothly to receive the dielectric fluid as it flows over

the weir.” Def.’s App. 16, ECF No. 75 (references omitted). Figures 1, 5, and 6 show that the

overflow lip is simply the bottom edge of the weir. Id. at 8, 10. The specification reinforces the

conclusion that a “weir” and a “weir having an overflow lip” are precisely the same thing.

        Immersion’s argument to the contrary misses the point. Immersion argues that “[n]owhere

in the specification or claims is there any suggestion as to how the terms differ.” Def.’s Br. 17,

ECF No. 74. But Midas’s position—and the plain language of the claims—is that the terms do not

differ. Again, Immersion relies too heavily on claim differentiation in assuming that “weir” and


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“weir having an overflow lip” must mean different things. The claims and specification

demonstrate that the most reasonable interpretation is that “weir” and “weir having an overflow

lip” are identical in meaning. See Retractable Techs., Inc., 653 F.3d at 1305. Immersion does not

rebut that reasonable interpretation.

               C.      The Prosecution History

       The prosecution history resolves any remaining uncertainty about the meaning of the

disputed terms. An examiner rejected the initial application for the ’457 Patent because it was too

similar to an already-patented air cooling system. See Def.’s App. 39–42, ECF No. 75. The

applicants then added the phrase “having an overflow lip” to Claims 1 and 6 to clarify that the ’457

Patent concerned liquid cooling, not air cooling. Id. at 45–48. The examiner again rejected the

application, observing that “the ‘weir’ structure . . . merely amounts to an opening in a wall and

its ‘lip’ is never defined as more than the bottom surface of that opening.” Id. at 88. So the

applicants submitted another revised application, explaining in detail the difference between gas

and liquid fluid dynamics. Id. at 100–01. After that final explanation, the examiner dropped the air

cooling system as a prior-art reference and approved the ’457 Patent. See Pl.’s Supp. App. 348–

50, ECF No. 81.

       The prosecution history confirms several points. First, stating that a weir has an overflow

lip is redundant. As the examiner observed, the lip is merely “the bottom surface of [the weir’s]

opening.” Def.’s App. 88, ECF No. 75. Or, as Midas says, “All weirs have overflow lips.” Pl.’s

Resp. Br. 8, ECF No. 80. Second, the ’457 Patent applicants added the phrase “having an overflow

lip” to underscore that the patent concerned a liquid cooling system rather than an air cooling

system. As it turned out, adding the phrase did not help—the examiner required more explanation

to distinguish the liquid and air cooling systems. Once the applicants provided that explanation,

the patent was approved. Third, the omission of the phrase “having an overflow lip” from the


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subsequent ’446 Patent did not change the claims’ meaning. The applicants for the ’446 Patent

simply acknowledged the examiner’s conclusion that the phrase was redundant. They omitted the

phrase because it added nothing to the description of a weir. The prosecution’s history confirms

that a personal of ordinary skill in the art would understand the scope of the disputed phrases

according to their plain meaning.

       IV.     CONCLUSION

       The intrinsic evidence demonstrates that the disputed terms should be afforded their plain

and ordinary meanings. The Court therefore need not consult any extrinsic evidence. See Vitronics,

90 F.3d at 1583. The Court also DENIES Immersion’s invalidity claim because Immersion has

not shown by clear and convincing evidence that the patents are indefinite. Accordingly, the Court

ORDERS the following:

       1) The Court construes the nineteen agreed-upon terms and phrases in the Joint
          Claim Construction Chart (ECF No. 82-1) in accordance with the parties’
          agreed constructions.

       2) The Court construes the two disputed phrases (a) as not indefinite and (b) in
          accordance with their plain and ordinary meaning.

       3) The Court refers the parties to the Amended Scheduling Order (ECF No. 64)
          regarding future litigation deadlines.

       SO ORDERED this 22nd day of November 2021.



                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE




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